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EXHIBIT 12
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                              Total VOTES

State          Total VOTES                                                              Votes                                                               PA          GA          AZ          MI          WI
MICHIGAN         202,657                                                                                                                        Biden    3,458,229   2,473,633   1,672,143   2,804,040   1,630,673
PENNSYLVANIA     188,078                                                                                                                        Trump    3,377,674   2,461,854   1,661,686   2,649,852   1,610,065
WISCONSIN         70,524                     GEORGIA        47,233                                                                               Diff     80,555      11,779      10,457      154,188     20,608
ARIZONA           47,372
GEORGIA           47,233                                                                                                                        Switch   188,078      47,233      47,372     202,657      70,524
Grand Total      555,864                      ARIZONA       47,372
                                                                                                                                                Trump    107,523      35,454      36,915      48,469      49,916
                              STATE
                                            WISCONSIN                70,524
                                                                                                                                        Total



                                        PENNSYLVANIA                                                      188,078



                                            MICHIGAN                                                           202,657


                                                        0        50,000       100,000           150,000             200,000   250,000




State         witched VOTES
 ALLEGHENY COU 67,033
ADAMS COUNTY      33,111
ANTRIM COUNTY 13,637
CLARK COUNTY      23,909
DANE COUNTY       46,615
DELTA COUNTY       3,215
EMMET COUNTY       3,477
GWINNETT COUN 47,233
HOUGHTON COU       1,143
KALAMAZOO COU 55,315
LANCASTER COUN 65,901
MONTGOMERY C 22,033
OAKLAND COUNT 96,862
PIMA COUNTY EL 47,372
WAYNE COUNTY      29,008
Grand Total      555,864
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                A                   B              C          D              E                F            G
 1   US ELECTION FRAUD 2020
 2   FOREIGN INTERFERENCE
 3
 4            DATE               SOURCE           LAT       LONG        PROVINCE             CITY       COUNTRY
 5        11/3/2020 22:49      180.76.4.109     39.9042    116.407        BEIJING          BEIJING       CHINA
 6        11/5/2020 5:02       202.46.63.102    22.5414    114.123     GUANGDONG          SHENZHEN       CHINA
 7        11/4/2020 11:49     202.112.126.88    39.9696    116.319        Haidian           Beijing      CHINA
 8        11/5/2020 17:18       180.76.6.62     39.9042    116.407        BEIJING          BEIJING       CHINA
 9        11/5/2020 5:09       36.250.242.65    31.0549    121.3493       Shanghai         Shanghai      CHINA
10        11/4/2020 6:42      121.169.194.16    37.4331    127.1375     Gyeonggi-do       Seongnam-si   S. KOREA
11        11/3/2020 20:47      202.46.50.140    22.5414    114.123     GUANGDONG          SHENZHEN       CHINA
12        11/4/2020 0:29      220.181.108.155   39.9042    116.407        BEIJING          BEIJING       CHINA
13        11/4/2020 22:06     183.12.143.105    22.5333    114.1333      Shenzhen         Guangdong      CHINA
14        11/5/2020 16:44      178.137.5.18     49.982     36.2566    Kharkivska Oblast     Kharkiv     UKRAINE
15        11/5/2020 10:05      112.25.14.21     31.299     120.585        Jiangsu           Suzhou       CHINA
16        11/5/2020 4:59      124.240.187.80    39.9042    116.407        BEIJING          BEIJING       CHINA
17        11/4/2020 4:54       123.125.71.96    39.9906    116.2887       Haidian           Beijing      CHINA
18        11/4/2020 23:03      180.76.5.142     39.9042    116.407         Beijing          Beijing      CHINA
19        11/4/2020 20:32      220.225.11.77    22.5602    88.3698        Kolkata         West Bengal    INDIA
20        11/4/2020 3:27        77.237.73.3     35.6892     51.389       TEHRAN            TEHRAN        IRAN
21        11/3/2020 23:04      182.68.255.4     28.4167     77.306       HARYANA          FARIDABAD      INDIA
22        11/4/2020 17:17      177.1.64.170     -16.6391   -49.2622        Goias           Goi√¢nia      BRAZIL
23        11/4/2020 1:50        5.9.223.248     49.4542    11.0775        Bavaria          Nurnberg     GERMANY
24        11/4/2020 5:38        82.9.64.214     54.5746     -1.927     Middlesbrough       England        UK
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                A                                   H                                                  I
 1   US ELECTION FRAUD 2020
 2   FOREIGN INTERFERENCE
 3
 4            DATE                               SOURCE                                          NETWORK
 5        11/3/2020 22:49      BEIJING BAIDU NETCOM SCIENCE AND TECHNOL     Beijing Baidu Netcom Science and Technology Co. Ltd.
 6        11/5/2020 5:02       SHENZHEN SUNRISE TECHNOLOGY CO.,LTD. 200     Beijing Baidu Netcom Science and Technology Co. Ltd.
 7        11/4/2020 11:49       ~{VP9ZHKCQ4SQ''~} RENMIN UNIVERSITY OF C       China Education and Research Network Center
 8        11/5/2020 17:18      BEIJING BAIDU NETCOM SCIENCE AND TECHNOL     Beijing Baidu Netcom Science and Technology Co. Ltd.
 9        11/5/2020 5:09        CN QUANZHOU CITY, FUJIAN PROVINCIAL NETW           China Unicom Fujian Province Network
10        11/4/2020 6:42                   KOREA TELECOM KR                                    Korea Telecom
11        11/3/2020 20:47      SHENZHEN SUNRISE TECHNOLOGY CO.,LTD. 200     Beijing Baidu Netcom Science and Technology Co. Ltd.
12        11/4/2020 0:29       CN CHINANET BEIJING PROVINCE NETWORK CHI          IDC China Telecommunications Corporation
13        11/4/2020 22:06     CHINANET GUANGDONG PROVINCE NETWORK DATA                             Chinanet
14        11/5/2020 16:44      KYIVSTAR GSM UKRAINIAN MOBILE PHONE OPER                         Kyivstar GSM
15        11/5/2020 10:05      CHINA MOBILE COMMUNICATIONS CORPORATION           China Mobile Communications Corporation
16        11/5/2020 4:59      ZHONGYUAN PETROLEUM EXPLORE BUREAU COMMU         CNC Group CHINA169 Henan Province Network
17        11/4/2020 4:54                         YBV CN                            China Unicom Beijing Province Network
18        11/4/2020 23:03      BEIJING BAIDU NETCOM SCIENCE AND TECHNOL     Beijing Baidu Netcom Science and Technology Co. Ltd.
19        11/4/2020 20:32         THIS SPACE IS STATICALLY ASSIGNED IN                Reliance Communications Limited
20        11/4/2020 3:27                           IR                              Toesegaran Shabakeh Arseh Novin Ltd
21        11/3/2020 23:04       BHARTI TELENET LTD. NEW DELHI 224 OKHLA                          Bharti Airtel
22        11/4/2020 17:17        BRASIL TELECOM S/A - FILIAL DISTRITO FED         Brasil Telecom S/A - Filial Distrito Federal
23        11/4/2020 1:50                     HOS-359860 DE                                   Hetzner Online AG
24        11/4/2020 5:38                   MIDDLESBROUGH GB                                      Virgin Media
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                A                                            J                                                         K
 1   US ELECTION FRAUD 2020
 2   FOREIGN INTERFERENCE
 3
 4            DATE                                 NETWORK NAME                                          NETWORK REGISTRATION
 5        11/3/2020 22:49                ShenZhen Sunrise Technology Co. Ltd.            AS55967 Beijing Baidu Netcom Science and Technology Co. Ltd.
 6        11/5/2020 5:02                 ShenZhen Sunrise Technology Co. Ltd.            AS55967 Beijing Baidu Netcom Science and Technology Co. Ltd.
 7        11/4/2020 11:49                                 CRMU                               AS4538 China Education and Research Network Center
 8        11/5/2020 17:18         Beijing Baidu Netcom Science and Technology Co. Ltd.   AS55967 Beijing Baidu Netcom Science and Technology Co. Ltd.
 9        11/5/2020 5:09                          China Unicom Fujian                            AS4837 CHINA UNICOM China169 Backbone
10        11/4/2020 6:42                                  (ju)tinet                                         AS4766 Korea Telecom
11        11/3/2020 20:47                ShenZhen Sunrise Technology Co. Ltd.            AS55967 Beijing Baidu Netcom Science and Technology Co. Ltd.
12        11/4/2020 0:29                               Chinanet GD                            AS23724 IDC China Telecommunications Corporation
13        11/4/2020 22:06                              Chinanet GD                                     AS4134 CHINANET-BACKBONE
14        11/5/2020 16:44                               KSNET-AS                                            AS15895 Kyivstar PJSC
15        11/5/2020 10:05              China Mobile Communications Corporation                 AS56046 China Mobile communications corporation
16        11/5/2020 4:59      Zhongyuan Petroleum Explore Bureau Communication Compan            AS4837 CHINA UNICOM China169 Backbone
17        11/4/2020 4:54                          China Unicom Beijing                          AS4808 China Unicom Beijing Province Network
18        11/4/2020 23:03         Beijing Baidu Netcom Science and Technology Co. Ltd.   AS55967 Beijing Baidu Netcom Science and Technology Co. Ltd.
19        11/4/2020 20:32                     Reliance Communication Ltd                     AS18101 Reliance Communications Ltd.DAKC MUMBAI
20        11/4/2020 3:27                          Novinhost TebyanIDC                          AS209836 Toesegaran Shabakeh Arseh Novin Ltd
21        11/3/2020 23:04                           Bharti Telenet Ltd.                          AS24560 Bharti Airtel Ltd. Telemedia Services
22        11/4/2020 17:17               Brasil Telecom S/A - Filial Distrito Federal           AS8167 Brasil Telecom S/A - Filial Distrito Federal
23        11/4/2020 1:50                         Hetzner Online GmbH                                   AS24940 Hetzner Online GmbH
24        11/4/2020 5:38                          Virgin Media Limited                                   AS5089 Virgin Media Limited
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                A                                 L                                M             N          O            P
 1   US ELECTION FRAUD 2020
 2   FOREIGN INTERFERENCE
 3
 4            DATE                       NETWORK CODE                           TARGET          LAT       LONG         STATE
 5        11/3/2020 22:49                       Baidu                        198.108.253.104   45.7452   87.0646      MICHIGAN
 6        11/5/2020 5:02                        Baidu                         66.129.42.43     45.0275   84.6748      MICHIGAN
 7        11/4/2020 11:49                ERX-CERNET-BKB                        159.233.2.2     32.2217   110.9265     ARIZONA
 8        11/5/2020 17:18                       Baidu                         199.224.22.10    40.4406   79.9959    PENNSYLVANIA
 9        11/5/2020 5:09                CHINA169-Backbone                     68.185.163.98    44.7577   90.2968     WISCONSIN
10        11/4/2020 6:42                     KIXS-AS-KR                      216.245.224.155   44.8344   85.2826      MICHIGAN
11        11/3/2020 20:47                       Baidu                          159.233.0.55    32.2217   110.9265     ARIZONA
12        11/4/2020 0:29               CHINANET-IDC-BJ-AP                      170.125.0.22    43.0775   89.3931     WISCONSIN
13        11/4/2020 22:06             CHINANET-BACKBONE                        74.174.32.3     33.749     84.388      GEORGIA
14        11/5/2020 16:44                      AS15895                        50.239.65.95     42.3314   83.0457      MICHIGAN
15        11/5/2020 10:05                CMNET-Jiangsu-AP                    66.216.167.151    40.0379   76.3055    PENNSYLVANIA
16        11/5/2020 4:59                CHINA169-Backbone                     208.90.188.132   39.0997   94.5786    PENNSYLVANIA
17        11/4/2020 4:54                    CHINA169-BJ                       208.90.188.136   39.0997   94.5786    PENNSYLVANIA
18        11/4/2020 23:03                       Baidu                          34.192.0.124    39.0437   77.4875      MICHIGAN
19        11/4/2020 20:32       RELIANCE-COMMUNICATIONS-IN                     34.192.0.58     39.0437   77.4875      MICHIGAN
20        11/4/2020 3:27                        NHCO                         216.245.226.122   44.8344   85.2826      MICHIGAN
21        11/3/2020 23:04           AIRTELBROADBAND-AS-AP                     67.192.61.135    32.7831   96.8067      MICHIGAN
22        11/4/2020 17:17     Brasil Telecom S/A - Filial Distrito Federal     34.192.0.65     39.0437   77.4875      MICHIGAN
23        11/4/2020 1:50                   AS24940 HOS                        199.250.192.30   38.8951   77.0364      MICHIGAN
24        11/4/2020 5:38                     AS5089-NTL                       199.250.192.96   38.8951   77.0364      MICHIGAN
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                A                        Q                                   R                        S             T           U
 1   US ELECTION FRAUD 2020
 2   FOREIGN INTERFERENCE
 3
 4            DATE              ENTRY POINT / OWNER             NETWORK REGISTRATION             NETWORK CODE    INTRUSION    SUCCESS
 5        11/3/2020 22:49          DELTA COUNTY                   AS237 Merit Network Inc.          AS237          BOTH          Y
 6        11/5/2020 5:02           EMMET COUNTY                   AS26981 Gaslight Media            AS26981          *           Y
 7        11/4/2020 11:49      PIMA COUNTY ELECTIONS               AS13829 Pima County              AS13829     CREDENTIALS      Y
 8        11/5/2020 17:18        ALLEGHENY COUNTY            AS54559 COUNTY OF ALLEGHENY            AS54559        BOTH          Y
 9        11/5/2020 5:09           CLARK COUNTY               AS20115 Charter Communications        AS20115      FIREWALL        Y
10        11/4/2020 6:42           ANTRIM COUNTY              AS27192 Chain O' Lakes Internet       AS27192        BOTH          Y
11        11/3/2020 20:47      PIMA COUNTY ELECTIONS               AS13829 Pima County              AS13829     CREDENTIALS      Y
12        11/4/2020 0:29            DANE COUNTY                 AS25979 CITY OF MADISON             AS25979        BOTH          Y
13        11/4/2020 22:06     GWINNETT COUNTY ELECTION      AS36542 Gwinnett County Government      AS36542     CREDENTIALS      Y
14        11/5/2020 16:44          WAYNE COUNTY          AS7922 Comcast Cable Communications, LLC   AS7922       FIREWALL        Y
15        11/5/2020 10:05      ADAMS COUNTY ELECTION      AS7029 Windstream Communications LLC      AS7029           *           Y
16        11/5/2020 4:59        MONTGOMERY COUNTY                AS36489 Netsolus.com Inc.          AS36489        BOTH          Y
17        11/4/2020 4:54         LANCASTER COUNTY                AS36489 Netsolus.com Inc.          AS36489     CREDENTIALS      Y
18        11/4/2020 23:03         OAKLAND COUNTY                 AS14618 Amazon.com, Inc.           AS14618        BOTH          Y
19        11/4/2020 20:32         OAKLAND COUNTY                 AS14618 Amazon.com, Inc.           AS14618     CREDENTIALS      Y
20        11/4/2020 3:27           ANTRIM COUNTY              AS27192 Chain O' Lakes Internet       AS27192          *           Y
21        11/3/2020 23:04        HOUGHTON COUNTY                AS33070 Rackspace Hosting           AS33070      FIREWALL        Y
22        11/4/2020 17:17         OAKLAND COUNTY                 AS14618 Amazon.com, Inc.           AS14618     CREDENTIALS      Y
23        11/4/2020 1:50         KALAMAZOO COUNTY              AS54641 InMotion Hosting, Inc.       AS54641          *           Y
24        11/4/2020 5:38         KALAMAZOO COUNTY              AS54641 InMotion Hosting, Inc.       AS54641     CREDENTIALS      Y
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                A              V          W          X
 1   US ELECTION FRAUD 2020
 2   FOREIGN INTERFERENCE
 3
 4            DATE            TRACE    CHANGED      VOTES
 5        11/3/2020 22:49      Y      TRUMP: DOWN   3215
 6        11/5/2020 5:02       Y      TRUMP: DOWN   3477
 7        11/4/2020 11:49      Y      TRUMP: DOWN 33066
 8        11/5/2020 17:18      N      TRUMP: DOWN 67033
 9        11/5/2020 5:09       N      TRUMP: DOWN 23909
10        11/4/2020 6:42       N      TRUMP: DOWN   6432
11        11/3/2020 20:47      N      TRUMP: DOWN 14306
12        11/4/2020 0:29       N      TRUMP: DOWN 46615
13        11/4/2020 22:06             TRUMP: DOWN 47233
14        11/5/2020 16:44             TRUMP: DOWN 29008
15        11/5/2020 10:05      N      TRUMP: DOWN 33111
16        11/5/2020 4:59              TRUMP: DOWN 22033
17        11/4/2020 4:54       Y      TRUMP: DOWN 65901
18        11/4/2020 23:03      Y      TRUMP: DOWN 49912
19        11/4/2020 20:32      Y      TRUMP: DOWN 33501
20        11/4/2020 3:27       Y      TRUMP: DOWN   7205
21        11/3/2020 23:04      Y      TRUMP: DOWN   1143
22        11/4/2020 17:17      Y      TRUMP: DOWN 13449
23        11/4/2020 1:50       Y      TRUMP: DOWN 24311
24        11/4/2020 5:38       Y      TRUMP: DOWN 31004
